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EXHIBIT E

Plaintiff's Exhibit No. 57
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ECP 00782

AGREEMENT BETWEEN RON WEHRLI AND EMERSON CREEK POTTERY

3/23/01

1, The purpose of this agreement is to enable Ron Webrli to establish and outlet store in Naperville, III. to
sell Emerson Creek Pottery products at a discount from regular retail prices.

2. E.C.P. agrees that R.W. will set up a corporation in Ill. for purposes of operating the store with a DBA
as Emerson Creek Pottery Outlet Store.

3. E.C.P. will furnish its pottery and accessories carried in its wholesale catalogue the R.W. at a discount
specified in the appendix.

4, R.W. agrees to keep the store stocked with a minimum of 75% E,C.P. products in order to keep using

E.C.P. name one the store.

R.W. will allow E.C.P. a reasonable amount between placing orders and shipment.

Terms of payment will be FOB Bedford, net 30 days. Initial stocking order excepted, to be one half

prepaid .

7. E.C.P. will use best available freight rates for shipments.

aw

Appendix-
Discount rate — Most handpainted decorations 40% off. Wisteria 30% off. Liscenced designs 30% off.
Wire products 10% off.

